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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                        :
WILLIAM METCALF                                         :        CIVIL ACTION NO.
                                                        :        3:15-CV-01696-VAB
                       PLAINTIFF                        :
                                                        :
v.                                                      :
                                                        :
YALE UNIVERSITY, ET AL                                  :        March 11, 2016
                                                        :
                       DEFENDANTS                       :
                                                        :

                           MOTION FOR EXTENSION OF TIME

         Pursuant to Local Rule 7(b), the defendant, Yale University, hereby moves for an

extension of time of an additional thirty (30) days, up to and including April 11, 2016, within

which to answer to plaintiff’s discovery requests dated February 10, 2016. The reason for this

request is that it will take defendant’s employees substantial time to assemble the information

requested by the plaintiff, and it is anticipated that the defendant will not be able to assemble

that information within the time permitted by the Federal Rules for a response. Plaintiff’s

counsel has indicated that he has no objection to the granting of this motion. This is the

defendant’s first request for an extension of time.

                                                  THE DEFENDANT, YALE UNIVERSITY

                                            By:                 /s/
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                                           JURIS NO. 415438
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                                      CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing Appearance
was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the court’s CM/ECF
System.


                                                      _______________/s/________________
                                                       Patrick M. Noonan




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